5 \ CB.S€ 2.18-mj-30448- DUTY ECF NOAUJSA||€C$&HD7PLBC}HH&Q€lD 1 TCRM@§L @13Q26_9577 v
1;091(Rev 11/11) Crimmalcomplamt' . "' Agent: _1 l Michae1 Goloweyco BPA- l Telephone: (313) 949- _4777

UNITED STATES DISTRICT CoURT

for the , . 1 ', \)U

Eastern District of Miehigan "

 

Ul,lit_€d States’ of America¢' f z ~ 4 . f fw 1

V.- ` ,. - . _ - ' v Case: 2:18-mj-30448 j

1 ' 1 ‘ ~ v ' _ `
Juan Amoni_o GARCIA-HNIENE;, _ v ~ 1 JUdQe- UnaSSlQned, 1 -

/ Filed: 08-17-2018 `
ClVlP: USAV SEALED MATTER (MAVV) ‘“'

 

ll j ' 1CR11V11NALC0\1V1PLAINT ` de \

l

1, the complainant in this case state that the fo11ow1ng is `trne to the best of 1ny knowledge and be11ef. 17 `

` \

 

On or about the date(s) of M3I 19 2018; .Tu1 14, 2018, Ju130, 2018 in the county Of____MM___' m the
` 1 ` Eastem ' ` D1st1‘101 of Michigan ,the defendant(s) violated: , ' , ~ 0
7 Code Section ` ' ` ` Ojjpense Description l 7 1 |' ' iv »
Title 8 U.S.C. Sec. 1324 (a)(l)(A_)(iv) _ Bringing ln and Harboring CeItaJ`n Aliens W/ ` 1 ' ' “
, /
\

This criminal complaint is based on these,facts: \`»\ , ‘ » , 1 _ ' 1 d

\See Attach'ed Aftidavit . ` » 1 . . 4 1 ` f

-, Continued on the attached sheet.` f 1 , ~ 1 ' 1

 

 

` Sworn to before me and signed in my presence

 

 

lDmez August 172 2018 l n .1 ," _ _ s y Judgessignature
Cit§ andlstate';_ Detroit,'MI l ` 1 f ` E1izabethA. Stafford U. S. Maeistrate Judge F

Prz'nted name and title

‘ 9 easeizzis-mj_-éozi¢is-DUTY l;cl= i<l§.i filed 08/'17/'1§ ”PagelD:;z’ -Page’z 0110,.”
AFFIDAVIT*

i',l l\/I_i§ha§l G§low§y§o declare the following under penalty of perjury:

l'. v 1 am a Bord§r Patrol Ag§nt Int§llig§nc§ (BPA-1) employed with

v Unit§d Stat§s Bord§r Patrol (USBP) Unit§d Stat§s Customs and

1 Bord§1 Prote§tion (CBP)-. 1 have been a illl- time Bord§r Patrol
vA'g`§n_t since July 23, 200_9,?. During my time with USBP, lvhav§ l

" over three years of ' experience working 111 an investigative and '
intelligen§§ unit, termed DISRUPT. 1 am §u11ently assigned to the ,§; » `

7 D§t101t S§ctor Int§llig§nc§ Deta§hment Unit and have been since w
July of 2017 1 have conducted numerous investigations 1 `

_ .5 - ,` ' y concerning violations of federal laws, including violations of the _ § "
1 111 Immigjration Naturalizauon A§t controlled substance violations
and interstate drug violations

2.' 1 The information set forth below 1s for the limited purpose of
establishing probable §ause. Th§r§for§ this affidavit does not '
necessarily contain all of the information collected during my
investigation l '

'- x j 7:3. w Juan Antonio GARCIA- JIMENEZ 1s a 53-y§ar-old naturalized
' 1 Canadian citizen from Guatemala Bas§d on information and
belief GARCIA- JIl\/IENEZ currently resides at 1482 Bruc§ Ave.,
,,; Windsor, Ontario, Canada. GA`RCIA- JIMENEZ uses 01_ is known
by the following alias§s: “Antonio ” “Don _Tono ” “P.§t§r” and
v _ “Trail§ro.” `

'4`. ' 'On Mar§h 19, 2018, based on info11nation 1§ceivedv from agents
' from the Unit§d States Bo1d§1 Patrol and th§ Royal Canadian
_ Mount§d Polic§ (RCMP) an investigation was initiated into

L/

v ' " ease'2:“13-mj_-'30443-DUTY» Ecl= No. 1 filed 03/17/13 y Pagelo;a Page.a 01'10, '

\\"-

GARCIA-JIMENEZ -`vvho is believed to be 111volved 111 alien ’ _ _ t
a smuggling 111 violation of 8 U. S. C_. § 1324(a)(1)(A)(1v) GARCIA-

'J;IMENEZ 1s suspected of using the railway tunnel between 7

Canada and the United States to smuggle aliens into the United

/..

: '5. 1 By Way of backg“round:the Michigan Cfentral Railway Tunnel

"her_einafte_r referred to as “tunnel,” is a' railroad tunnel located 7 z
1 1 under the Detroit River that connects Detroit, l\/l1ch1gan 111 the 1'~' ’ - .
" Un1ted States With W1ndsor, Ontario, Canada. T he tunnel is a total .' l
of 1 .6 miles 111 length and is used solely for train cargo t121vel.v

 

1 Michigan Central Railway Tunnel, De1:roit, MI;' entrance,
httr)s://www.Voutube;corn/Watch?\l=MT\/'WC9VC1BY t t
v ‘ .\ ; v ' . ; . ' , .

6 On March 19, 2018, Detroit Station Border Pat1ol Agents _
1 l apprehended Juan Pablo Ramirez- Torres as he attempted to enter
the Un1ted States unlawfully by Walking through the tunnel from n 1
Canada. Ramirez 1s a citizen and national of MeXic_o and had been f 5
'5: laW11111yliv111g and Working 111 Canada.

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j/\ '

714 Ramir§z stat§§ that he worked for Highljine Mushrooms in _
j L§amington Ont§ii`o, Canada S§veral months prior t§ his arrest
. ; Ramir§Z b§g§n to speak with people in Canad§ about thj§ y v
v possibility of crossing into the Unit§d Stat§sj illegally Raniirez
j, stated that he spoke with § man named “Antonio” whom h§ met at
j 7 § restaurant in th§ L§amington (_)ntario §rea. R§mir§z' stated that
j he spoke with ‘_‘Antonjio” in person on several occasions and
“Antonio’_’ said he could help Ramir§z get into jth§ United S_t§t_§s.j
Ramirez described “Antonio” as approximately 5 0 years- -old, tall,
3 j medium complexion and weight and § mustache j

.LJ"-

j jj 8. iii Ramirj§2 stated that on March l8, 2018 at approximately ll: 30

` 7 § P. M., j “Antonio” picked him up at his apartment in Kingsville
Ontario Ramirez stated that “Antonio”. drove § dark colored mini-~
j j van “Antonio” then drove R§mirez to a location near the tunnel in
lWindsorj, Ont§rioj. “Antonio” showed Rarriijr§z the location where ij
j j he needed to enter the tunnel. Ramire2 stated that “Antonio
instructed him to enter the tunnel after the train from Can§da to the , `
z United Stat§s had passed “Antonio” stated to R§mir§Z that he 1 j
needed to wait jfor the train so that the cameras would not notice
_ him and the sensors would not activate Ramirez stated‘ ‘Antonio”
told him that, once in Detroit, § man named lose Rodrigu§z would
. __ j pick him up. Ramir§z indicated that he pa1d money to “A_ntonio”
’ to help him enter the tinit§d States. ‘

\

j j9. On March 19 2018 Ramirjez entered the tunnel and attempted to> j

enter the United States. Imm§di§tely upon exiting the tunnel
1 Bord§r P§trol Ag§nts apprehended Ramir§2. 7 _ » l l » . ’/ -_

. _-'lO. . j During his post-arrest interview Ramir§2 was asked about contacts

1 jj and communications he had on his cell phone, particularly with
- “Antonio.” Ramir_e2 freely gave his consent to allow agents to /
j t view'§lljm§dia, contacts, and messages on his .phone. Rarjnirez _ *

\ 1

j caseijz:i§-mj-§o'¢i¢i§¢ourv _ECF' NQ. 1 filed 0371'7/1§ :'F>agelo..zi'j ij\agejzi,Qf'i_o;jij *

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n " c:asei?z':123-mj::-j3044a-oilTYy 15ch No.»i* filed oai/i?/ia Pagelo.e" Page”§of 10.. '

g , provided a contact number for “Antonio.” RamireZ showed agents ' -
l ` ' a contact labe1ed as “Don Tono” With phone number (226) 202-
`: '1393, based out of Ontario, Canada, and identified that contact as ' `
“Antonio.” “

j ill .' v Border Patrol agents forwarded the phone number'~gi'ven by
v Ramirez'to RCMP. Record checks by RCl\/IP determined (226) q
,_ . _ 202.- 1393 returned to Juan Antonio GARClA- JIl\/IENEZ. Agents 1
acquired a photograph of GARCIA-JIMENEZ from CBP record `
checks. ` 1 » 4 1 '

' 1412. _ The photograph of` GARCIA-JIMENEZ matched the description
" 1 that Was provided to agents by Ramirez. RCMP also determined
` that GARCIA- JIMINEZ had several vehicles registered m his
. name, including a dark co1ored mini~van. »

13. On July 14, 2018, at approximately 2: 00 A M. ,USBP apprehended
4 two subjects exiting the tunnel The subj ects, later identified as_
l Obseli Fidencio Maldonado- Gomez and Cesar Florentin Lopez- l
Hernandez, told agents they Were coming- from Canada and Were » :` 1
l l f going to the Greyhound bus station in Detroit, Michigan, With a _
l final destination of North Carolina '

1 14. ~ During p\ost¥arrest"intervievvs, both’subjects told agents they ;vvere
- able to legally vvork and reside 111 Canada. Maldonado stated that . t
he vv`orked for Natilre Fresh F arms i`n Leaming_ton, _O_ntario. Lopez f
stated that he Worked for Mastronardi Enterprises 111 Leamlngton
Ontario. ' ‘ '

' 1 l_5'. Both subjects ::s.tat'ed that they met a taxi driver outside of a market ; '
v _ in'Leamington~, Ontario'. The subjects stated that the taxi driver{. 1

ease?2:,13¢mj-30143-001Y ECF No. 1 filed 03/'17/_18 § PagelD.e Page 6 0_11_011` `

16.1
' » 1100 _P. M to take both subjects to the Windsor, 011ta110 a1ea.1he

y117._

.-/ ././_

/\\

1 drove a grey mini-van and was approximately 50 years old,

medium complexion, and had a “sa'lt and peppered” colored

:' mustache The subjects 1efe11ed to the taxi driver as “Peter.”
"‘Peter” offered to smuggle both subjects into the United Stat'es via
the tunnel 1`01 $l, 500 U. S. D each. Both subjects stated that they
* paid $1, 500 to “Pe1e1”to be smuggled into the United States ' ._\_ ~

/`.

011 the evening of July 13, 2018 c1‘Peter’1’ arrived at approximately

subjects stated that they drove around with “Peter” p11011 to
entering the tunnel1 '

vAt approxlmately 1: 30 A M. ,both subject3 were instructed by 1
1 “Peter” to wait for the next train ente1ing the United States from

Canada. ‘_‘_Peter” told both subjects that they had to wait 101 the _

: 1 train so they did not set off the sensors 01 cameras. As the train . `
1 a111ved, the subjects were instructed by “Peter” to ente1 the tunnel

111 1 '_ _ behind the train and walk along the narrow walkway to the United

_;18.v 1

1' 1 States. Lopez had a poorly drawn map 101` the tunnel ent1ance and a

list of street names near the G11eyh0und bus station 111 Detroit MI.

.11\

RCMP conducted follow up 111te1views with both subjects Du1ing

'. the interviews, both subjects were shown several photos of

possible smugglers 1111 Canada When shown a photo 01 Juan
Antonio GARCIA- JIM_‘ENEZ,1 both subjects ident11`1ed him as the
taxi driver that b10ught them to the tunnel and instructed them how 1 1

'_ to illegally enter the United States

19

/`

Reco1d checks with the RCMP revealed that GARCIA- JIMENEZ

111 owns a grey Dodge Caravan, bearing 01ltario license plate

AS_55881. _Record checks 111 CB_P databases revealed that _»H - `1

1 1 GARC;IA¥JIMENEZ ttossed into the imith states with this , _
§ ' " :' .. >,, :._ . :

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vehicl§ multiple t1111§§. RC_MP stated that this vehicle is often seen1 » ’
'- v 111 the Leamington Ontario area

1 -"20. . On July 30 2018 at approximately 41 00 A. 1\/1. USBP apprehended

two subjects §Xiting the tunnel Both §ubj §cts, later identified §§

Brayan Corado-Re§inos and Ipolito Carpio- Recinos, stated that .

they entered the 'United States through the-tunnel and Were headed '

to an unknown hotel 111 southwest D§t101t to await pickup from § `
family member 111 a couple days. ` ' 1 ' _ ' \1__

:1 f. 121. ' Corado-R§cinos stated that he received the phone number for the
1 \§muggler from a “friend” at a neighboring farm Corado- Recinos 1 1
claimed that he contacted the smuggler via text message and then 1 1 1 ,
later by “What s App,” 1 a third party messaging application '
` Corado-Recinos claimed that his 111st contact With “Antonio” Was
1 § on July 18, 2018. Th§ number contacted Was (226) 202-1393.
' Aft_er several conversations With “Antonio” ,arrangem§nts Were
1 made for Corado- -R§cinos to be smuggled into the United States
:- through the tunnel for§$`l', 500 Uv S. D. Corado-R§cinos stated that '
after telling his co-Work§r, 1_Carpio R-§cinos, of his intent to enter
the United States Ca_rpio- -1Recin'os also Wanted to be smuggled into
' -' the United States. ' ' '

22.l v On the evening of July 29, _2018, both subjects Were picked up by
1 “Antonio” near their farms 111 L§amington Ontario and driven to 1 t
Windsor,` Ontario Both subjects claimed that they Were picked up
1 in a dark-colored minivan With gray trim. Both subjects planned to
` stay in § hotel for a couple of nights 1n the Detroit area The `
` subjects stated that they needed Am§rican money in order to pay
v 11 for the hotel, so upon arriving in Windsor “Antonio” took them 10
the Caesars Ca§ino in Windsor to §X§hange their Canadian
currency for United Stat§s dollars »`B`oth subjects _§t'§ted that

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24. ;

'25.6

“Antonio” entered _t6h6e casino with them to assist them with

6- ,» translation

A request was placed with RCMP for video footage o_f the subj66ts _ ' 6 6 6
entering and traversing the casino. RCMP provided video footage
of the two subj66cts accompanied by a middle aged, medium 6 6 6

'6 omplexion male with a white mustache later identified by _CBP __
agents by comparing the footage to a known photograph, as Juan i ' '
Antonio GARCIA_-__J[MENEZ The footage shows GARCIA-

JIMENEZ_ leading Corado-Recinos and Carpio- -Re6i`nos through _ * 6

6 the casino to_ the cash exchange desk. Once the6 subjects exchanged

their currency, they exited the casino with “Antonio” and

proceeded to the railroad tunnel entran6e in Windsor Ontario.

Both subjects claimed that ‘.‘Ai_itonio” drove a dark colored mini~ 6 6

van with grey trim on the bottom Record checks r6veal that

: GARCIA JIMENEZ owns 6a blue Pontiac mini-van with a grey

trim on the lower part of the Vehicle. _CBP record checks revealed
that GAR_CIA- JIl\_/IENEZ previously crossed into the United States

:' in a blue over gray Pontiac Mo_ntana minivan bearing plate ON
‘ BWDA695 Both subjects stated that they waited with “Antonio”

in his vehicle for approximately three hours, near the entrance to

` the train tunnel They were waiting for a train to enter th6 United
States. At approximately 31 30 a. m “Antonio”6 stated that the train
._ . was probably not going to come and the subjects needed to begin _

their walk through the tunnel The subjects entered the tunnel and `

__ exited the United States side at approximately 4: 00 a. m Both

subjects were; apprehended by USBP upon,exiting the tunnel

During post-arrest interviews, both subj6cts gave an Ontario phone __
number (226) 202-1393 as the phone number of “Antonio. ”- This _

'6: telephone number was the same telephone number used by

“Antonio” during the smuggling of Ramirez on Ma_rch 19, 2018

6 l and found in Ramirez" s phone.

“26.'

v ' ease12:'18-mj?-j30448-DUTY` EC'F`-No. 1 . filed oe/,i=?/ie `F>age_lD.Q `Page'e of io*“' `

g Both subjects were asked if they had any other contacts or

communications with “Antonio.” Both subjects freely gave the11 1
consent to agents to view all media, messages and contacts on ,'

j l their phone. Both subjects had “What s App”' and both had text , '

strings w1t_h “_Trailero” GARCIA- JIMENE_Z’ s phone number

4 (226) 202 1393 was linked to this alias The subjects stated that

;2_7_.;?’-

_ 1280

729."

they created the nickname “Trailero” for “Antonio” based on his

occupation as a taxi driver The text strings were 111 the Spanish _ g 1 ` ,
language and translated by USBP _ :;j?: ` f '

Both subjects acknowledged that the text strings on their _
telephones were conversations with “Anton`io`.” The text string

: § detailed the preparations and smuggling of the two subjects into
l ~ the United States. The text string also revealed that both subjects

were required to pay $l,500 U.S.D. or the .Canadian equivalent is y `
“Antonio"’ told the subjects that he would have anotherperson t °
waiting for them near the Green Dot Stab_les restaurant in Detroit,

,_: Michigan after they entered the into the United States through the ,

tunnel This person was supposed to transport the subjects to a

.` hotel in southwest Detroit At this time, agents are unsure if there :

.`l

was another individual at this location

Duririg post-arrest interviews, both subjects'were shown pictures :
of Juan Antonio GARCIA-JIl\/IENEZ Both subjects identified

_?` GARCIA- JIMENEZ as the smuggler who brought them to the ` '
tunnel and arranged for their entry into the United States. \ ` '

Ba:sed-on the aforementioned facts,_j there is probable cause to

§ believe that the D`efendant, Juan Antonio 'GARCIA- JIMENEZ, '
_ l encouraged and induced aliens to come to, enter and reside 111 the "
` United States, for the purpose of commercial advantage or private

§

1

w '} Case 2:18-mj-30448-DUTY-» ECF N-o.'l'" filed 08/17/18 P§age’|D.lO` ` :Pegegl§j of '10 :
11112111¢1211"§21111:," knowing 2111_<;1 111 reckless diéreg211d ofthe `fact th211
, , such coming to, .e1111y, and'residenee 15 01 _Will be 111 l\/'101_21'11011 of
' this_law, 111 V1012111"0110f'T1t1e 81,"U1111ed States Code, Se_efions _ g '
1324(€1)(1)(1'31)(1¥)311€1 1324(&)(1)(13)(1)- ` '

  
 

 

f 1\/1101121_€1 Golowey
' l Borde1 P21_t101 11t- -1_111e111ge110e ,
U111ted S_t`éltes Department 01H0111e12111d Seeu11ty
' United States Border Patrel ' ` .

' SW0111 to befQ1e me and Subscribed 111 111y presence this 1_d21_y7 of ;_
Au`gust 2018. ' 1 ' '

' "Eliéabeth A. Stafford ` _ '
l U111ted States Magistrate Judge
' -. ' United States D1S111ct C_0111t , v
Easte111 Dist11c:t 01M10h1g2111 ;'

